Case 5:17-cv-00126-RWS-CMC Document 75 Filed 04/20/18 Page 1 of 20 PageID #: 610



                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                              TEXARKANA DIVISION

  HEALTH CHOICE GROUP, LLC and JAIME Civil Action No.: 5:17-CV-126-RWS-CMC
  GREEN, on behalf of the UNITED STATES OF
  AMERICA; STATE OF ARKANSAS; STATE
  OF CALIFORNIA; STATE OF COLORADO;         RELATORS’ SURREPLY TO
  STATE OF CONNECTICUT; STATE OF DEFENDANTS’ MOTION TO DISMISS
  DELAWARE; DISTRICT OF COLUMBIA;          PLAINTIFFS’ FIRST AMENDED
  STATE OF FLORIDA; STATE OF GEORGIA;              COMPLAINT
  STATE OF HAWAII; STATE OF ILLINOIS;
  STATE OF INDIANA; STATE OF IOWA;
  STATE OF LOUISIANA; STATE OF
  MARYLAND;         COMMONWEALTH        OF
  MASSACHUSETTS; STATE OF MICHIGAN;
  STATE OF MINNESOTA; STATE OF
  MONTANA; STATE OF NEVADA; STATE OF
  NEW HAMPSHIRE; STATE OF NEW JERSEY;
  STATE OF NEW MEXICO; STATE OF NEW
  YORK; STATE OF NORTH CAROLINA;
  STATE OF OKLAHOMA; STATE OF RHODE
  ISLAND; STATE OF TENNESSEE;
  STATE OF TEXAS; STATE OF VERMONT;
  COMMONWEALTH OF VIRGINIA; and
  STATE OF WASHINGTON,
       Plaintiffs/Relators,

  v.

  BAYER CORPORATION; AMGEN INC.;
  ONYX      PHARMACEUTICALS,   INC.;
  AMERISOURCEBERGEN    CORPORATION;
  and LASH GROUP,

        Defendants.
Case 5:17-cv-00126-RWS-CMC Document 75 Filed 04/20/18 Page 2 of 20 PageID #: 611



                                                    TABLE OF CONTENTS


  I.        INTRODUCTION ...............................................................................................................1

  II.       DEFENDANTS’ CONDUCT VIOLATES THE AKS .......................................................1

            A.        The Free Nurse and Support Services Programs Violate the
                      AKS..........................................................................................................................1

            B.        White-Coat Marketing by the Nurse Educators Violates the
                      AKS..........................................................................................................................4

  III.      RELATORS HAVE ADEQUATELY PLEADED SCIENTER .........................................5

  IV.       THE AC SATISFIES RULE 9(b) ........................................................................................7

  V.        RELATORS HAVE ADEQUATELY PLEADED CONSPIRACY .................................10

  VI.       RELATORS’ STATE LAW CLAIMS SHOULD NOT BE
            DISMISSED ......................................................................................................................11

  VII.      RELATOR GREEN WAS PROPERLY ADDED TO THE CASE ..................................12

  VIII.     CONCLUSION ..................................................................................................................14




                                                                        ii



  1359631
Case 5:17-cv-00126-RWS-CMC Document 75 Filed 04/20/18 Page 3 of 20 PageID #: 612



                                                TABLE OF AUTHORITIES

                                                                                                                               Page(s)
  CASES

  C.W. v. James Zirus,
     2012 WL 12919096 (W.D. Tex. June 6, 2012) .....................................................................7, 9

  Hernandez v. CIBA-GEIGY Corp. USA,
     2000 WL 33187524 (S.D. Tex. Oct. 17, 2000)........................................................................10

  Hisey ex rel. Estate of Benavides v. Fisher-Price, Inc.,
     2003 WL 22332134 (N.D. Tex. Aug. 6, 2003) ..........................................................................7

  In re Elec. Data Sys. Corp. “ERISA” Litig.,
      305 F. Supp. 2d 658 (E.D. Tex. 2004) .....................................................................................11

  Lincoln Gen. Ins. Co. v. U.S. Auto Ins. Servs., Inc.,
     2009 WL 1174641 (N.D. Tex. Apr. 29, 2009) ........................................................................10

  Mackey v. Fluor Intercontinental Inc.,
    2015 WL 6125984 (S.D. Tex. Oct. 16, 2015)............................................................................7

  Sabine v. United States,
     1996 WL 365651 (E.D. La. June 28, 1996) .............................................................................11

  St. Paul Mercury Ins. Co. v. Williamson,
      224 F.3d 425 (5th Cir. 2000) ...................................................................................................10

  United States ex rel. Boise v. Cephalon, Inc,
     2014 WL 5089671 (E.D. Pa. Oct. 9, 2014)..............................................................................13

  United States ex rel. Brown v. Celgene Corp.,
     2014 WL 3605896 (C.D. Cal. July 10, 2014) ..........................................................................12

  United States ex rel. Harman v. Trinity Indus. Inc.,
     872 F.3d 645 (5th Cir. 2017) .....................................................................................................6

  United States ex rel. Howard v. Lockheed Martin Corp.,
     2011 WL 4348104 (S.D. Ohio Sept. 16, 2011) .......................................................................13

  United States ex rel. Nargol v. DePuy Orthopaedics, Inc.,
     865 F.3d 29 (1st Cir. 2017) ........................................................................................................9



                                                                    iii



  1359631
Case 5:17-cv-00126-RWS-CMC Document 75 Filed 04/20/18 Page 4 of 20 PageID #: 613



  United States ex rel. Streck v. Allergan, Inc.,
     894 F. Supp. 2d 584 (E.D. Pa. 2012) .........................................................................................6

  United States ex rel. Wall v. Vista Hospice Care, Inc.,
     778 F. Supp. 2d 709 (N.D. Tex. 2011) ......................................................................................7

  United States v. Exec. Health Res., Inc.,
     196 F. Supp. 3d 477 (E.D. Pa. 2016) .......................................................................................12

  United States v. Homeward Residential, Inc.,
     2015 WL 3776478 (E.D. Tex. June 17, 2015) .........................................................................13

  United States ex rel. Colquitt v. Abbott Labs.,
     2016 WL 3571329 (N.D. Tex. Mar. 8, 2016) ............................................................................6

  Visiting Nurse Ass’n of Brooklyn v. Thompson,
      378 F. Supp. 2d 75 (E.D.N.Y. 2004) .........................................................................................6

  Waldmann v. Fulp,
     259 F. Supp. 3d 579 (S.D. Tex. 2016) .......................................................................................6




                                                                 iv



  1359631
Case 5:17-cv-00126-RWS-CMC Document 75 Filed 04/20/18 Page 5 of 20 PageID #: 614



  I.        INTRODUCTION

            Defendants’ motion to dismiss reply (Dkt. 66, the “Reply”) largely rehashes Defendants’

  original arguments, which Relators disproved in their opposition (Dkt. 52, the “Opposition” or

  “Opp.”).1 Defendants again downplay or ignore Relators’ detailed allegations, while continuing

  to press a pleading standard that the Fifth Circuit has expressly rejected. But if Defendants’

  aspirational view of the law were correct, Rule 9(b) would bar virtually all AKS/FCA cases,

  including cases – such as this one – that are meritorious, have been carefully investigated, and

  bear directly on public health and safety. Relators have provided sufficient factual details to

  plead their claims, and the motion to dismiss should be denied.

  II.       DEFENDANTS’ CONDUCT VIOLATES THE AKS

            The three schemes spelled out in the AC violate the AKS.         Defendants’ contrary

  arguments are unavailing.

            A.     The Free Nurse and Support Services Programs Violate the AKS

            As Relators demonstrated, in exchange for prescriptions for Covered Products,

  Defendants, through the Free Nurse and Support Services programs, took over and underwrote

  critical aspects of Prescribers’ provision of patient care. Opp. at 4-5. The challenged conduct

  eliminated substantial expenses that Prescribers customarily bear, and extended well beyond

  “product support” connected to the administration of the Covered Products. Opp. at 9-12. For

  example, the AC alleges that, in addition to teaching patients how to administer the Covered

  Products, the nurses in the Free Nurse program devote significant time to providing actual

  medical assistance and advice to patients. AC ¶¶ 96, 97, 103, 104. This care would have

  otherwise been provided by Prescribers, and thus Defendants’ action resulted in Prescribers


            1
           The Surreply uses the same abbreviations and defined terms that were used in the
  Opposition.

                                                   1
  1359631
Case 5:17-cv-00126-RWS-CMC Document 75 Filed 04/20/18 Page 6 of 20 PageID #: 615



  improving their bottom line. AC ¶¶ 98, 101, 102, 105, 106. Similarly, the Support Services

  program relieves Prescribers and their staff of the substantial, non-billable burden of managing

  the insurance process, including training the Prescriber’s staff on how to best navigate the

  complicated process. AC ¶¶ 152, 153, 166. The AC also alleges that these services were

  provided with one goal in mind: to induce Prescribers to prescribe the Covered Products. AC ¶¶

  89, 91, 92, 107, 146, 158, 167. The Schemes thus fall squarely within the prohibitions of the

  AKS.

            Unable to contest that the Free Nurse and Support Services programs result in

  Prescribers’ receiving “remuneration” within the meaning of the AKS, Defendants again invoke

  the OIG’s guidance that applies to “purchasers” and argue that it absolves them of liability.

  Reply at 2 (citing 68 Fed. Reg. 23731 § 11.B(2)(b)(B)(1)(a), 2003 WL 2010428 (the “OIG

  Guidance”)). Not so. As Relators demonstrated in the Opposition, the OIG Guidance expressly

  provides different standards for “purchasers” and Prescribers. In the case of Prescribers, the OIG

  Guidance makes clear that the AKS is implicated by (1) any “service” that would “eliminate an

  expense the physician would have otherwise incurred”; or (2) any “service” that is “sold to a

  physician at less than fair market value.” 68 Fed. Reg. 23731 § IIB(2)(b)(B)(1)(b) (emphasis

  added). Defendants offer no response to Relators’ showing, instead asserting that the distinction

  between “purchasers” and Prescribers was purportedly “made up from whole cloth.” Reply at 2.

  This is simply false, as the actual text of the OIG Guidance itself establishes.

            Defendants also contend that Relators’ Opposition “shows that courts consistently apply

  the same OIG Guidance to services provided to physicians.” Reply at 3. This too is incorrect.

  For instance, in Defendants’ principal case, United States v. Medtronic, Inc., the complaint

  alleged that the defendant provided free services to “physicians and others with purchasing



                                                    2
  1359631
Case 5:17-cv-00126-RWS-CMC Document 75 Filed 04/20/18 Page 7 of 20 PageID #: 616



  power to select Medtronic devices.” 2017 WL 2653568, at *1 (E.D. Pa. June 19, 2017). This is

  a critical distinction that Defendants ignore.

            In any event, as explained in Relators’ Opposition and supra, even if the OIG’s Guidance

  for “purchasers” were to apply, the AC adequately pleads Defendants’ AKS violations. Opp. at

  9-14.     The Free Nurse and the Support Services program provide substantial value to the

  Prescribers that extend beyond “product support.” This is because both programs eliminate

  substantial expenses the Prescribers would otherwise have to incur. See AC ¶¶ 96-107 (noting

  that the Free Nurse program eliminates the need for Prescribers to hire their own staff to provide

  the education services Bayer and Amgen are providing); id. ¶¶ 152-53 (noting that the Support

  Services program eliminates substantial expenses the Prescribers would otherwise have to incur).

  These allegations are fatal to Defendants’ motion to dismiss. Indeed, even the 2000 OIG opinion

  that Defendants accuse Relators of “ignoring,” states the AKS is implicated when services that

  may have no independent value are combined “with other services or programs which do confer

  an independent financial benefit upon referring providers.” OIG Advisory Opinion No. 00-10,

  2000 WL 35747420, at *5; Reply at 4. The full package of benefits Defendants offer in

  exchange for prescriptions unquestionably provides a significant and wide-reaching benefit to

  Prescribers by freeing them from the expensive burdens of ongoing patient management and

  insurance management.

            At the end of the day, Defendants’ assertion that the Free Nurse and Support Services

  programs are immune from scrutiny because they are offered strictly in conjunction with Bayer

  and Amgen’s efforts to market the Covered Products to Prescribers fails as a matter of law.

  Taking over critical aspects of patient care in exchange for prescription is the very type of

  practice the AKS was designed to curb. Indeed, taking Defendants’ position at face value, there



                                                   3
  1359631
Case 5:17-cv-00126-RWS-CMC Document 75 Filed 04/20/18 Page 8 of 20 PageID #: 617



  would be nothing wrong with Defendants completely taking over the Prescribers’ provision of

  patient care because, under Defendants’ logic, all such care could be characterized as “product

  support.” In Defendants’ world, Prescribers’ roles would be limited to writing prescriptions, and

  Defendants would be free to do everything else.        And patient care would be relegated to

  whichever Big Pharma company offered the highest incentives. That, of course, is not the law.

  No amount of misdirection can alter this fact.

            B.     White-Coat Marketing by the Nurse Educators Violates the AKS

            In their motion, Defendants argued that Relators’ White Coat Marketing allegations fail

  because (1) the “nurse educators” were allegedly not acting as sales reps; and (2) the AKS has

  statutory and regulatory “safe harbors” that expressly permit pharmaceutical companies to

  engage non-employees to provide services. Relators disproved both of these points in the

  Opposition.     See Opp. at 12-14.     In their reply, Defendants ignore Relators’ showing and

  continue to press their meritless assertions.

            Defendants assert that “none of the nurse educators . . . quoted by Relators in the FAC

  allege to have undergone any sales or marketing training.” Reply at 5-6. But the AC expressly

  alleges that “Bayer and Amgen invested heavily in training nurse educators how to gain access to

  Prescribers and promote the Covered Products.” AC ¶ 118. Further, the AC alleges that the

  nurse educators were “trained on how to overcome Prescriber and staff objections.” Id. ¶ 119.

  And, to further illustrate the type of training the nurse educators received, the AC explains that

  Relator Green “was trained in person for an entire week,” “[t]he training focused on sales

  techniques,” and “[a]t the end of the week, the trainees . . . had to demonstrate how they would

  market the product to the Prescribers.” Id. ¶ 120. The notion that the AC does not allege that the

  nurse educators were trained to promote the Covered Products is nothing more than wishful

  thinking.

                                                   4
  1359631
Case 5:17-cv-00126-RWS-CMC Document 75 Filed 04/20/18 Page 9 of 20 PageID #: 618



            Defendants, having previously made no effort to demonstrate that the “personal services”

  safe harbor set forth in 42 C.F.R. § 1001.952(d) applies to the challenged conduct, also assert

  that the White Coat Marketing program is wholesale exempt from AKS scrutiny. In particular,

  Defendants assert that Relators’ reading of the safe harbor creates a circular interpretation under

  which the provisions can never apply. Reply at 6. Defendants are attacking a strawman.

  Relators’ point is quite simple: the AKS is still violated where individuals in a unique position

  of trust – white-coated nurses – are paid to recommend the Covered Products to Prescribers and

  their patients. In other words, inserting intermediaries between the pharmaceutical company and

  physicians in the unlawful marketing scheme does not immunize Defendants’ conduct. To

  support their position, Relators quoted the DHHS’s own interpretation of the safe harbor

  provision. See 56 Fed. Reg. 35952 (1991) (“[W]e have experienced many instances where

  promoters and consultants have become involved in marketing activities that encourage health

  care providers and others to violate the statute . . . . It would be inappropriate to allow such

  activities to receive safe harbor protection. Thus, we are adding paragraph (d)(6) to this safe

  harbor provision to make clear that the service that is contracted for is not protected if it

  involves the counselling or promotion of a business arrangement or other activity which itself

  constitutes a violation of any State or Federal law.”). Tellingly, Defendants completely ignore

  Relators’ argument.

  III.      RELATORS HAVE ADEQUATELY PLEADED SCIENTER

            Relators have demonstrated that Defendants’ reliance on the “reasonable interpretation of

  the law” exemption to the AKS is unavailing under both the law and the facts of this case. Opp.

  at 15-22. In their reply, Defendants argue that, to evade AKS liability, they do not have to show

  that they actually believed that they were in compliance with the law. Instead, Defendants assert

  that they need only show the mere existence of a reasonable interpretation of the law under

                                                    5
  1359631
Case 5:17-cv-00126-RWS-CMC Document 75 Filed 04/20/18 Page 10 of 20 PageID #: 619



   which their activity was permissible. Reply at 7. This is not the law. As set forth in Relators’

   Opposition, a defendant must show that it actually relied on a reasonable interpretation of the

   law in order to defeat scienter allegations, and, indeed, Defendants offer no case law supporting

   their argument to the contrary. Reply at 6, 7; Opp. at 16. See, e.g., United States ex rel. Harman

   v. Trinity Indus. Inc., 872 F.3d 645, 657 (5th Cir. 2017) (assessing defendant’s claim “that it

   could not have acted knowingly or recklessly if it was acting pursuant to a reasonable

   interpretation of the disclosure requirements”) (emphasis added); Waldmann v. Fulp, 259 F.

   Supp. 3d 579, 629 (S.D. Tex. 2016) (“While it is true that FCA liability does not attach to

   reasonable but erroneous interpretations of the law . . . the statute requires a defendant to actually

   come to that reasonable but incorrect conclusion.”); United States ex rel. Colquitt v. Abbott

   Labs., 2016 WL 3571329, at *2 (N.D. Tex. Mar. 8, 2016) (assessing “whether Defendants’

   reliance on a reasonable interpretation of an ambiguous requirement precludes a finding of

   ‘reckless disregard’) (emphasis added); Visiting Nurse Ass’n of Brooklyn v. Thompson, 378 F.

   Supp. 2d 75, 96 (E.D.N.Y. 2004) (“FCA liability is inappropriate only where a claimant has

   reasonably relied on its interpretation of the law”) (emphasis added).2

             Defendants’ reliance on United States ex rel. Streck v. Allergan, Inc., 894 F. Supp. 2d

   584, 596 (E.D. Pa. 2012), is misplaced. The Streck court found that there was no evidence to

   suggest that the defendants were not in fact acting according to a reasonable interpretation of the

   relevant law. Id.     But here Relators have demonstrated that Defendants’ interpretation of the

   law is objectively unreasonable, and Defendants themselves have admitted that the OIG

   Guidance at issue cautions marketplace participants against engaging in the very conduct alleged

   in the AC. Reply at 2 (admitting that the OIG Guidance instructs that services provided to a

             2
            To be clear, it is not Relators’ position that, at the pleading stage, the court may not
   consider whether the defendants’ purported interpretation of the law is reasonable. Reply at 6, 7.

                                                     6
   1359631
Case 5:17-cv-00126-RWS-CMC Document 75 Filed 04/20/18 Page 11 of 20 PageID #: 620



   physician may trigger AKS liability). Further, the AC contains ample allegations demonstrating

   that Defendants carried out their schemes with full knowledge of their illegality, and not under a

   good faith effort to comply with the AKS. Opp. at 18-22. Defendants’ attempt to cast these

   facts as “legal conclusions” when they are plainly nothing of the sort is unavailing. Reply at 8.

   Accordingly, dismissal is not appropriate.

   IV.       THE AC SATISFIES RULE 9(b)

             As set forth in Relators’ Opposition, Rule 9(b) is applied in FCA cases with flexibility

   and with consideration of the particular circumstances rather than as a legal straightjacket. Opp.

   at 23, 24; see also, e.g., Mackey v. Fluor Intercontinental Inc., 2015 WL 6125984, at *4 (S.D.

   Tex. Oct. 16, 2015) (“Rule 9(b) is context specific and flexible and must remain so to achieve the

   remedial purpose of the FCA.”); United States ex rel. Wall v. Vista Hospice Care, Inc., 778 F.

   Supp. 2d 709, 715 (N.D. Tex. 2011) (citing United States ex rel. Grubbs v. Kanneganti, 565 F.3d

   180 (5th Cir. 2009)).

             In their reply, Defendants continue to ignore this guidance and again urge a standard that

   is unsupported by precedent and unreasonable. Reply at 9, 10. Although Rule 9(b) requires

   fraud claims to be pleaded with particularity, “it is also well established that Rule 9(b) must be

   read in conjunction with Rule 8, under which a complaint only need give the defendant ‘fair

   notice of what the plaintiff’s claim is and the grounds upon which it rests.’” Hisey ex rel. Estate

   of Benavides v. Fisher-Price, Inc., 2003 WL 22332134, at *2 (N.D. Tex. Aug. 6, 2003)

   (emphasis added); see also C.W. v. James Zirus, 2012 WL 12919096, at *2 (W.D. Tex. June 6,

   2012) (“While the pleading burden of Rule 9(b) demands particularity, a “complaint need not . . .

   state all facts pertinent to a case to satisfy the requirements.”). As Relators explained in the

   Opposition, the AC provides ample detail describing: Defendants’ motives (AC ¶¶ 14, 94, 99);

   the development and administration of the nurse education program by Bayer, Amgen, and

                                                     7
   1359631
Case 5:17-cv-00126-RWS-CMC Document 75 Filed 04/20/18 Page 12 of 20 PageID #: 621



   Amerisource ((Scheme 1) AC ¶¶ 92-95); the scope of the Free Nurse program and the benefits

   the program confers on Prescribers and their staff, which induce them to prescribe the Covered

   Products (AC ¶¶ 97-107); the manner in which nurses that participate in the White Coat

   Marketing program are trained, expected to and ultimately do in fact promote the Bayer and

   Amgen products ((Scheme 2) AC ¶¶ 108-144); the development of the Support Services program

   by Bayer, Amgen, and Amerisource ((Scheme 3) AC ¶¶ 146-150); an explanation of how the

   Support Services program functions and how it provides benefits to Prescribers and their staff

   that induce them to prescribe Bayer and Amgen products (AC ¶¶ 151-167); the nation-wide

   scope of the schemes (AC ¶¶ 184-190); the time-frame of the expansive and long-lasting

   schemes (AC ¶¶ 184-188); the Government Programs that reimburse prescriptions for the

   Covered Products (AC ¶¶ 43-86); an explanation of why claims submitted to the Government

   programs for the Covered Products are false claims (AC ¶¶ 3-15, 29-38, 47-57, 67, 68, 80, 85,

   188, 190-204); and an explanation of why Defendants knew that these false claims would be

   submitted (AC ¶¶ 85, 161, 184-204). This level of detail satisfies the applicable pleading

   standard, and certainly meets the “fair notice” requirement of Rule 9(b).

             Unable to debate Relators’ showing, Defendants assert that all that the AC describes are

   “established industry practices long-known to regulators.” Reply at 10. This argument fails.

   First, Defendants’ assertion that the alleged activity constitutes “established industry practices”

   raises several questions of fact. Second, even if the conduct has become common practice in the

   industry, that does not make it legal. Third, Defendants’ assertions underscore that Defendants

   fully appreciate what this litigation is about. In sum, Defendants’ claim that schemes described

   in the AC are “established industry practices” is nothing more than a confirmation that, while

   Defendants may challenge the AC’s allegations on the merits, the AC adequately pleaded its



                                                    8
   1359631
Case 5:17-cv-00126-RWS-CMC Document 75 Filed 04/20/18 Page 13 of 20 PageID #: 622



   claims of violations of the AKS. This is more than sufficient information to provide Defendants

   with fair notice of the charges against them. See C.W. v. James Zirus, 2012 WL 12919096, at *2

   (W.D. Tex. June 6, 2012) (“The focal point of the [Rule 9(b)] inquiry is whether allegations

   contained in the pleading provide the defendant with fair notice of the plaintiffs’ claims.”).

             Defendants similarly argue that Relators’ “allegations that false claims were submitted”

   are insufficient. Reply at 11. Here too, Defendants are simply ignoring the AC’s allegations.

   The AC alleges that Defendants carried out their schemes in order to induce Prescribers to

   prescribe the Covered Products. AC ¶¶ 3-6, 88-91. It alleges that, because of the high cost of

   the Covered Products, “most, if not all patients” pay for the Covered Products through their

   insurance rather than out of pocket. AC ¶ 158. The AC also alleges that tens of thousands of

   reimbursement claims for the Covered Products were submitted to Medicare each year between

   2011 and 2015 in addition to Medicaid claims from numerous states. AC ¶¶ 190-204. The AC

   further indicates that between 70% and 95% of Prescribers utilized Support Services. AC ¶ 164.

   The AC also alleges that the White Coat Marketing program targeted high-volume Prescribers.

   Id. ¶¶ 123-24. Finally, the AC alleges that Defendants coordinated the payment of insurance

   benefits for patients with Medicaid and Medicare who had been prescribed the Covered

   Products. Id. ¶¶ 159-161. These allegations satisfy Rule 9(b) because they demonstrate “that it

   is statistically certain that [Defendants] caused third parties to submit many false claims to the

   government.” United States ex rel. Nargol v. DePuy Orthopaedics, Inc., 865 F.3d 29, 41 (1st Cir.

   2017) (finding that under the “‘more flexible’ approach to evaluating the sufficiency of fraud

   pleadings in connection with indirect false claims for government payment,” relators alleged

   causation even though “[t]he complaint is devoid of particularized allegations [] that any doctor




                                                    9
   1359631
Case 5:17-cv-00126-RWS-CMC Document 75 Filed 04/20/18 Page 14 of 20 PageID #: 623



   submitted a claim he or she would not have submitted” if not for the defendants’ improper

   actions).

             The AC outlines the particulars of the fraud in sufficient detail and readily meets the Fifth

   Circuit’s pleading standard. The Court should reject Defendants’ arguments that, at the pleading

   stage, Relators should be required to prove their claims and spell out each and every detail of

   Defendants’ fraud. See Lincoln Gen. Ins. Co. v. U.S. Auto Ins. Servs., Inc., 2009 WL 1174641, at

   *6 (N.D. Tex. Apr. 29, 2009)(noting that Rule 9(b) “is not intended ‘to procure punctilious

   detail,’ and the particularity demanded by Rule 9(b) differs with the facts of each case. . . . It

   must also be viewed in light of Rule 8’s goal of ‘simple, concise, and direct’ pleadings”);

   Hernandez v. CIBA-GEIGY Corp. USA, 2000 WL 33187524, at *5 (S.D. Tex. Oct. 17, 2000) (“A

   complaint need not state all facts pertinent to a case in order to satisfy the requirements of Rule

   9(b). . . . Thus, the focus of a Rule 9(b) inquiry should be whether, given the nature and facts of

   the case and the circumstances of the parties, the pleading in question is sufficiently particular to

   satisfy the purposes of Rule 9(b).”) (citation omitted).

   V.        RELATORS HAVE ADEQUATELY PLEADED CONSPIRACY

             As Relators demonstrated in the Opposition, the AC adequately pleads Relators’

   conspiracy claims under the Fifth Circuit standard.          Opp. at 33-35.     Faced with Relators’

   identification of the numerous allegations supporting the conspiracy claims, Defendants attempt

   to trivialize Relators’ allegations. Reply at 13. Defendants’ complaints are misplaced. The AC

   sufficiently pleads the details required at this stage. See, e.g., St. Paul Mercury Ins. Co. v.

   Williamson, 224 F.3d 425, 434 (5th Cir. 2000) (noting that “the form of the complaint is not

   significant if it alleges facts upon which relief can be granted”) (citation omitted).




                                                      10
   1359631
Case 5:17-cv-00126-RWS-CMC Document 75 Filed 04/20/18 Page 15 of 20 PageID #: 624



   VI.       RELATORS’ STATE LAW CLAIMS SHOULD NOT BE DISMISSED

             In the Opposition, Relators demonstrated that Defendants’ cursory arguments for

   dismissal of Relators’ state law claims failed. See Opp. at 35-37. Unable to dispute Relators’

   showing, Defendants now complain that the FAC “makes no attempt to identify or account for

   . . . distinctions” between the AKS and its state analogues. Reply at 14. But Relators have no

   such obligation. See In re Elec. Data Sys. Corp. “ERISA” Litig., 305 F. Supp. 2d 658, 663 (E.D.

   Tex. 2004). The AC identifies the laws under which Relators’ claims arise, and the facts

   supporting each such claim.      If Defendants want the Court to dismiss those claims, it is

   Defendants’ burden to perform the legal analysis. See Sabine v. United States, 1996 WL

   365651, at *1 (E.D. La. June 28, 1996) (“When seeking dismissal for failure to state a claim, the

   moving party has the burden of showing that plaintiff can prove no set of facts consistent with

   the allegations in the complaint which would entitle it to relief.”). Defendants have not even

   attempted to meet their burden, and as such the motion should be denied.

             Defendants’ purported analysis of the Texas Medicaid Fraud Prevention Act (“TMFPA”)

   underscores the dubious nature of Defendants’ motion. In their opposition, Relators explained

   that under the TMFPA, a plaintiff does not need to show the presentation of a false claim as is

   required to prove liability under the Federal FCA. Opp. at 36. The differences between the

   TMFPA and the FCA were confirmed and elaborated upon by the State of Texas itself in its

   March 26, 2018 Statement of Interest (“SOI”). Dkt. 54 (explaining that “it is incorrect to assert

   that the TMFPA and the FCA should be read as identical when the language of each statute

   demonstrates that there are many significant differences that affect both the substance of claims

   that may be asserted as well as the remedies that are available”). Yet in their reply, Defendants

   continue to maintain that there are no meaningful distinctions between the TMFPA and the FCA,



                                                  11
   1359631
Case 5:17-cv-00126-RWS-CMC Document 75 Filed 04/20/18 Page 16 of 20 PageID #: 625



   going so far as to accuse the State of Texas of incorrectly interpreting its own law.3 Reply at 14,

   14 n. 16. Defendants are just wrong.

             Defendants again assert that Relators’ state law claims should be dismissed because the

   AC does not include allegations of “misconduct . . . in [each] specific state.” Reply at 14-15.

   Relators debunked this argument in their opposition. Opp. at 36. Again, Relators’ identification

   of a nation-wide fraudulent scheme, with representative examples of the uniform perpetration of

   that scheme in numerous states, is sufficient to support Relators’ state law claims. See United

   States v. Exec. Health Res., Inc., 196 F. Supp. 3d 477, 496 (E.D. Pa. 2016) (declining to dismiss

   relator’s 27 state law claims where relator alleged a nation-wide scheme and provided examples

   of activity in four states); United States ex rel. Brown v. Celgene Corp., 2014 WL 3605896, at

   *10 (C.D. Cal. July 10, 2014) (declining to dismiss state law claims despite a lack of state-

   specific allegations because the complaint “makes allegations about Celgene’s nationwide,

   systemic practices” that were not limited to the activities in the state discussed in the complaint).

   VII.      RELATOR GREEN WAS PROPERLY ADDED TO THE CASE

             Relators provided both explanation and case law demonstrating that the addition of Green

   as a co-relator does not trigger the first-to-file rule. Opp. at 38, 39. Defendants respond that

   “Relators are incorrect,” but this assertion is based on nothing more than Defendants’ say-so.

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             Defendants claim that the State of Texas “disregarded” the purported causation element
   of the TMFPA. Reply at 14 n. 16. The issue of causation was in fact specifically addressed in
   the SOI, where the State of Texas confirmed that the TMFPA does not require proof of causation
   for liability. Dkt. 54 at 9-10 (“Defendants argue that Relator failed to plead a causal link
   between the submission of false claims and the conduct alleged. . . . Defendants’ argument,
   however, is irrelevant to the Texas causes of action for the same reason that their other
   arguments fail. Neither the TMFPA unlawful acts nor the related Texas AKS violations
   applicable here require this Court to look beyond whether Relators sufficiently plead that the
   Defendants offered or paid kickbacks in connection with products that may be paid by Texas
   Medicaid.”) The language cited by Defendants as evidence of a causal element pertains to the
   determination of appropriate civil remedies, not to liability. Reply at 14 (citing Tex. Hum.
   Resources Code § 36.052).


                                                    12
   1359631
Case 5:17-cv-00126-RWS-CMC Document 75 Filed 04/20/18 Page 17 of 20 PageID #: 626



   Defendants’ citation to yet another entirely inapposite case does not rebut Relators’ arguments.

   Reply at 15 (citing Capshaw v. White, 2017 WL 3841611, at *2 (N.D. Tex. Jan. 23, 2017)

   (assessing an FCA complaint in which two separate, independently filed cases were joined into

   one case).

             Defendants also ignore authority from this District on this very issue. In Homeward

   Residential, the court found that the voluntary addition of a relator after a complaint is unsealed

   does not implicate the first-to-file rule. United States v. Homeward Residential, Inc., 2015 WL

   3776478, at *5 (E.D. Tex. June 17, 2015).        The Homeward court also explained why policy

   considerations favor the addition of additional relators. Id. (explaining that “barring a second

   relator who has been voluntarily added to an existing qui tam action would not advance the

   purpose of the first-to-file bar”); see also United States ex rel. Boise v. Cephalon, Inc, 2014 WL

   5089671, at *5 (E.D. Pa. Oct. 9, 2014) (explaining how policy considerations of first-to-file rule

   support finding that voluntary addition of relators is permissible). Indeed, barring the addition of

   “a second relator to an existing suit could have a negative consequence of discouraging voluntary

   agreements between relators with information concerning related claims against a single

   defendant and decrease judicial efficiency.” Homeward Residential, 2015 WL 3776478, at *5.

   See also United States ex rel. Howard v. Lockheed Martin Corp., 2011 WL 4348104, at *4 (S.D.

   Ohio Sept. 16, 2011) (concluding that “policy considerations favor” the addition of relators by

   amended complaint because this “does not require the duplicative expenditure of time and

   resources that a separate action [in another court] would have entailed” and noting that since

   Relators “have reached a private agreement as to the distribution of any recovery[,]” defendant

   “is not at risk for multiple or inconsistent judgments by the addition of [relators] to this action”).




                                                    13
   1359631
Case 5:17-cv-00126-RWS-CMC Document 75 Filed 04/20/18 Page 18 of 20 PageID #: 627



   Because the first-to-file rule simply does not apply to the circumstances of this case, there is no

   reason to dismiss Green.

   VIII. CONCLUSION

             For the foregoing reasons and those set forth in Relators’ Opposition, Defendants’

   Motion to Dismiss should be denied.




                                                   14
   1359631
Case 5:17-cv-00126-RWS-CMC Document 75 Filed 04/20/18 Page 19 of 20 PageID #: 628




   Dated: April 20, 2018                  Respectfully submitted,

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                                            15
   1359631
Case 5:17-cv-00126-RWS-CMC Document 75 Filed 04/20/18 Page 20 of 20 PageID #: 629



                                     CERTIFICATE OF SERVICE


             The undersigned hereby certifies that a true and correct copy of the above and foregoing

   document has been served on April 20, 2018 to counsel of record who are deemed to have

   consented to electronic services via the Court’s CM/ECF system. Any other counsel of record

   will be served by electronic mail, facsimile, U.S. Mail and/or overnight delivery.


                                                                         /s/ Radu A Lelutiu
                                                                            Radu Lelutiu




                                                    16
   1359631
